                Case 5:02-cr-00010-WTM-RSB Document 211 Filed 03/05/08 Page 1 of 1
'aA0 247 (02/08) Order Regarding Motion for Sentence Reduction

                                                                                                                                   JH
                                       UNITED STATES DISTRICT COURT
                                                                    for the
                                                                                                                   ZOO8MAR-5 AMIt:t.I
                                                          Southern District of Georgia

                    United States of America                          )
                                  V.                                  )
                                                                      ) Case No: CR502-00010-008
                        Paul David Baker
                                                                      ) USM No: 11229-021
Date of Previous Judgment: April 23, 2003                             ) Dennis Strickland, Sr.
(Use Date of Last Amended Judgment if Applicable)                     ) Defendant's Attorney

                    Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of Ejthe defendant           the Director of the Bureau of Prisons 1the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,

IT IS ORDERED that the motion is:
         DEN lED.       GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 80       months is reduced to          time served
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:     29                  Amended Offense Level:      27
Criminal History Category: III                  Criminal History Category: 111
Previous Guideline Range:   108 to 135 months   Amended Guideline Range: 87 to 108 months

H. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
   The reduced sentence is within the amended guideline range.
X The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 J Other (explain):




Ill. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated                 April 23, 2003,           shall remain in effect.
IT IS SO ORDERED.

OrderDate: March 5, 2008                                                  ______________________________________
                                                                                        Judge's signature


                                                                          William T. Moore, Jr.
Effective Date: March 15, 2008                                            Chief Judge, U.S. District Court
                     (if different from order date)                                            Printed name and title
